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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                                  CASE NO. 9:21-cv-80391-RLR

  KEITH TAIG, individually, and on behalf of
  others similarly situated,

         Plaintiffs,
  v.

  CITY OF VERO BEACH, CHIEF DAVID
  CURREY in his individual capacity, CAPTAIN
  KEVIN MARTIN (RETIRED) in his individual
  capacity, LIEUTENANT JOHN PEDERSEN in
  his individual capacity, DETECTIVE PHIL
  HUDDY in his individual capacity,
  DETECTIVE SEAN CROWLEY in his
  individual capacity, and DETECTIVE MIKE
  GASBARRINI in his individual capacity,

         Defendants.
                                               /

               JOINT NOTICE REGARDING PLAINTIFF’S MOTION FOR CLASS
                     CERTIFICATION AND ADDITIONAL DISCOVERY

         Pursuant to this Court’s Paperless Order filed September 22, 2021 [Doc. 70], the Parties,

  Plaintiff Keith Taig, and Defendants the City of Vero Beach, Chief David Currey, Capt. Kevin

  Martin (Retired), Lieut. John Pedersen, Detective Phil Huddy, Detective Shawn Crowley, and

  Detective Mike Gasbarrini, by and through undersigned counsel, hereby file this Joint Notice

  regarding Plaintiff’s Motion for Class Certification and Additional Discovery, and would state as

  follows:

         1.       Counsel for the Parties conferred via telephone on October 7 and October 8, 2021,

  regarding Plaintiff’s Motion for Class Certification and whether the parties seek additional

  discovery.



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         2.      It is Defendants’ position that Plaintiff’s Motion for Class Certification filed May

  7, 2021 [Doc. 39] cannot be evaluated in light of Plaintiff’s expressed intent in filing an amended

  complaint.

         3.      Plaintiff represents that he received production from Defendants on August 20,

  2021, August 24, 2021, and even supplemental production from opposing counsel on August 31,

  2021, totaling 1,183 pages. The last set of production was received after the discovery cutoff date

  on August 24, 2021. In the last three batches of production, Plaintiff discovered incident reports

  and video surveillance logs of those officers involved in the surveillance of the East Spa, and also

  an email from Assistant State Attorney Jeffrey Hendriks (“ASA Hendriks”) to the named

  Individual Defendants in this action. In that email, ASA Hendriks attaches a minimization

  memorandum, outlining requisite minimization instructions for video surveillance. This

  information has only come to light due to production received on August 20, 2021, August 24,

  2021, and August 31, 2021. As such, Plaintiff takes the position that there is good cause to take

  the deposition of ASA Hendriks to ascertain the nature of his involvement with the East Spa

  investigation and the instructions provided to any VBPD law enforcement officials. To the extent

  Defendants contend that Plaintiff exceeded the amount of depositions taken in this case without

  leave of court, Plaintiff responds that this issue was never raised by Defendants to the Court until

  now. Defendants had every opportunity to raise that issue to the Court to resolve it but never did.

         4.      Defendants oppose additional discovery. Defendant City produced the email at

  issue on August 20, 2021, as part of its Second Supplemental production. Therefore, Plaintiff had

  the email at issue in hand for over a month before first broadly raising a request for additional

  discovery at the September 22, 2021 Status Conference. Defendant City should not be penalized

  for complying with the Fed. R. Civ. P. 26(e) obligation to supplement discovery. In addition,



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  Plaintiff has already taken 11 depositions from May 21, 2021, through August 24, 2021, in excess

  of the 10 deposition limit set forth in Fed. R. Civ. P. 30(a)(2) without obtaining leave of court.

         Respectfully submitted this 8th day of October, 2021.

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                                      Certificate of Service

         I HEREBY CERTIFY that on October 8, 2021, I electronically filed the foregoing with

  the Clerk of the Courts by using the CM/ECF system which will send a notice of electronic filing

  to all counsel of record.

                                                     FISHER POTTER HODAS, PL
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